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                                                   U.S. Department of Justice


                                                   United States Attorney
                                                   Eastern District of New York
DMP:SKW/GMR                                        271 Cadman Plaza East
F. #2023R00922                                     Brooklyn, New York 11201



                                                   January 3, 2025

By Email and ECF

The Honorable Eric R. Komitee
United States District Judge
Eastern District of New York
225 Cadman Plaza East
Brooklyn, NY 11201

              Re:     United States v. Asif Merchant
                      Criminal Docket No. 24-362 (EK)

Dear Judge Komitee:

                At the Court’s direction, the government conferred with counsel for the Federal
Bureau of Prisons to arrange for an attorney from the Metropolitan Detention Center (“MDC”) to
be present at the status conference scheduled for January 6, 2025. MDC’s counsel is available to
participate in the status conference, however, MDC counsel has requested to be permitted to
appear by telephone or video teleconference given several pre-existing conflicts and the risk of
inclement weather for the New York City area on January 6. In the alternative, the government
requests that the Court adjourn MDC’s counsel’s appearance until January 7, 2025 or a
subsequent time convenient for the Court.

                                                   Respectfully submitted,

                                                   BREON PEACE
                                                   United States Attorney

                                            By:            /s/
                                                   Sara Winik
                                                   Gilbert M. Rein
                                                   Assistant U.S. Attorneys
                                                   (718) 254-6407

cc:    Clerk of the Court (EK) (by ECF)
       Avraham C. Moskowitz, Counsel to Defendant (by email and ECF)
